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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT                                                          MAY 14 2021
                                                                       for the
                                                                District of Kansas                                   By L W
                                                                                                                                t
                                                                                                                     Cle,i,/1(i.s   trlct Court
                                                                                                                                    N   Deputy Clerk


             In the Matter of the Search of                              )
         (Briefly describe the property to be searched
          or iilentify the person by name and address)
                                                                         ~           Case No.   d \ - ff\' U>b '1 '1 ·D \- KGG-
a black Amazon Kindle, further described in Attachment                   )
A, currently located at 1211 S. Emporia, Wichita, Kansas                 )
                                                                         )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A
                                                  District of       Kansas
located in the     -------                                      ----- - - - - - - , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
               ~ evidence of a crime;
               ~ contraband, fruits of crime, or other items illegally possessed;
               • property designed for use, intended for use, or used in committing a crime;
               0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                         Offense Description
       18 u.s.c. 2251                              Production of Child Pornography
       18 u.s.c. 225212252A                        Offenses relating to the Possession/Distribution of Child Pornography

          The application is based on these facts:
        See Attached Affidavit of Probable Cause.

          ~ Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
            under 18 U.S.C. § 3103a, the basis ofwhich is set forth on the attached sheet.


                                                                                Q&k!:~,..,.~    John V. Ferreira, SA, HSI
                                                                                                   Printed name and title
                             ·t e \-e~he n',coJ lu,
Sworn to before me and signed°"' my p sei:ice    I




City and state: -
                Wichita, KS- - - - - - - - -                                              The Honorable Kenneth G. Gale
                  ---
                                                                                                   Printed name and title
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                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, John V. Ferreira, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent ("SA") of the U.S. Department of

Homeland Security, Homeland Security Investigations ("HSI") since 2004 and am currently

assigned to the Kansas Internet Crimes Against Children Task Force (ICAC). Previous to my

employment with HSI, I was a state trooper/detective with the Arizona Department of Public

Safety for nine (9) years. While employed by HSI, I have investigated federal criminal violations

related to high technology or cybercrime, child exploitation, and child pornography. I have gained

experience through training and everyday work relating to conducting these types of

investigations. I have received training in the area of child pornography and child exploitation and

have had the opportunity to observe and review numerous examples of child pornography (as

defmed in 18 U.S.C. § 2256) in all forms of media including computer media. Moreover, I am a

federal law enforcement officer who is engaged in enforcing the criminal laws, including 18 U.S.C.

§§ 2251, 2252, and 2252A, and I am authorized by law to request a search warrant.

       2.      As will be shown below, there is probable cause to believe that Randy Sporn has

used a computer device to produce, distribute, receive, and possess child pornography, in violation

of 18 U.S.C. §§ 2251, 2252 and 2252A. I submit this application and affidavit in support of a

search warrant authorizing the search of a device, further described in Attachment A, which has

been identified as belonging to Randy Sporn, and provided to law enforcement, by the roommate

of Randy Sporn living at 3150 S. Mount Carmel, Wichita, KS. The device in Attachment A is

currently located at the Kansas Internet Crimes Against Children (ICAC) Task Force offices at
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1211 S. Emporia, Wichita, Kansas. I seek authorization to examine the device to seize evidence,

fruits, and instrumentalities of the foregoing criminal violations, which relate to the production,

distribution, receipt, and possession of child pornography, as further described in Attachment B.

       3.      The statements in this affidavit are based in part on information provided by other

law enforcement officers, including Wichita Police Department/Sedgwick County Sheriff

investigators, and on my review and investigation into this matter. Because this affidavit is being

submitted for the limited purpose of securing a search warrant, I have not included each and every

fact known to me concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that contraband and evidence, fruits, and

instrumentalities of violations of 18 U.S.C. §§ 2251 (production of child pornography),

2252A(a)(2) (distribution/receipt of child pornography) and 2252A(a)(5)(B) (possession of child

pornography) are presently located at the RESIDENCE described in Attachment A.

                                     PROBABLE CAUSE

       4.      The facts supporting probable cause for the search of the device incorporates the

facts relied on in three (3) prior related search warrants, all of which are incorporated herein by

express reference (21-6023-GEB, relating to the residence of Randy Sporn, 21-6024-GEB, relating

to the workplace of Randy Sporn, and 21-6029-GEB, relating to some digital devices belonging

to Randy Sporn).

       5.      Highly summarized, Twitter had reported two accounts, mikeyfromtumbll and

Survivinglife8, both of which had been identified by Twitter as engaging in the suspected

trafficking of child pornography. The Survivinglife8 account was found to contain

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communications with a 17 year old, wherein the minor was persuaded, induced, and used to

produce images depicting the minm engaged in sexually explicit conduct. Both accounts were

connected through IP addresses to both the residence and workplace of Randy Sporn. The

Survivinglife8 account was connected to Randy Spam's phone (as a verified phone number for

the account). The particulars underlying this summary are contained in the affidavits of probable

cause supporting the search warrants (21-6023-GEB, relating to the residence ofRandy Sporn, and

21-6024-GEB, relating to the workplace of Randy Sporn).

       6.      Search warrants for the residence and workplace of Randy Sporn were executed on

March 11, 2021. At his residence, Randy Sporn was aware of law enforcement's presence at the

door and asked them to wait before opening the door. Spam's phone was subsequently found

hidden under a couch.

       7.      Though Spam's phone has not yet been examined (due to PIN encryption), the SD

card in the phone was not encrypted and able to be examined. Examination of the SD card in

Spam's phone revealed the presence of:

       a.      One image (ending with the number 5357.jpg) depicted an adult or late teenaged
               male lying on his back on a bed. A male child, who appears under the age of 12,
               is performing oral sex on his penis.

       b.      One image (ending with 6ea2.jpg) depicted a male child who appears under the
               age of 18 seated in a chair naked. His erect penis is the focus of the image.

       c.      One image (ending with 63c9 .jpg) depicted two male children, who appear under
               the age of 15, are lying on a bed naked with their penises exposed.

       8.      Randy Sporn was arrested and charged by complaint in 21-MJ-06027-GEB. (The

affidavit in support of that complaint is incorporated herein by express reference).

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       9.      A third search warrant (21-6029-GEB) was issued and served related to a black

Samsung smartphone with a cracked screen, a purple Lexar thumb drive, a green Lexar 32 GB

thumb drive, a blue Easy Store thumb drive 128 GB with an attached USB connector, 2 black

Cruzer Glide 16 GB thumb drives, two black Cruzer Glide Thumb Drives with size-labeling worn

off, and a Samsung SD Adapter for Micro SD card containing a Samsung 256 EVO Plus Micro

SD Card. These items were provided to Detective Neal by the roommate of Randy Sporn,

Nathanael Roubideaux. The relative facts are outlined within the search warrant affidavit, but in

short, the items were first located by Kimberley Bettencourt at the direction of Randy Sporn, who

requested she put the items away to avoid detection. Bettencourt, who did not want anything to do

with the potential contents of these items, then provided them to Roubideaux. These items were

then provided to Det. Neal.

       10.     On March 29, 2021, Det. Neal received a call from Roubideaux. Roubideaux

advised he had a tablet that was found.in Randy Spam's dresser to give to Det. Neal.

       11.    Det. Neal drove to 3150 S: Mt. Carmel and spoke with Roubideaux. Roubideaux

walked Det. Neal back to Randy Spam's bedroom and showed her the dresser and the drawer that

the tablet was located in. He told Det. Neal that Kimberly Bettencourt had located it inside the

dresser after looking for some CPAP equipment, which is a breathing device used by persons while

they sleep, for Randy Sporn. Det. Neal collected the tablet, which was a black Amazon Kindle.

She later spoke directly with Bettencourt, who confirmed she had been directed by Randy Sporn

to look for CP AP equipment. Bettencourt located the tablet while she was looking for the CPAP

equipment.

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        12.      Because the black Amazon Kindle was reportedly used by Sporn during the time

period of activity on Twitter, there is a likelihood that the device contains evidence of the crimes

under investigation and activities on Twitter, for the reasons discussed below.

        13.      Likewise, because the digital device is capable of storing images or videos, and

child pornography has been found on other digital devices associated with Sporn, there is probable

cause to believe this digital device may similarly contain evidence of the crimes under

investigation.

                 CIDLD PORNOGRAPHY COLLECTOR CHARACTERISTICS

        14.      From my training and experience, I know that individuals who are interested in the

sexual exploitation of children will often seek out other likeminded individuals, for the purposes

of normalizing their interest, discussing historical or planned child sexual abuse, and/or advertising

the trade of child pornography. In this instance, as detailed in the search warrants incorporated by

reference, the operator of the "mikeyfromtumblrl" and "Survivinglife8" accounts appear to have

sought out likeminded individuals, as well as minors, via multiple social media applications, for

the purpose of discussing and obtaining child pornography.

        15.      From my training and experience, I know that individuals who are interested in the

sexual exploitation of children will frequently utilize digital devices to access the internet to seek,

obtain, and traffic in child pornography, and that the device(s) used by such individuals will retain

evidence and artifacts of such activity. In this instance, as detailed in the search warrants

incorporated by reference, the operator of the "mikeyfromtumblrl" and "Survivinglife8" accounts

had accessed the accounts from Spam's residence and workplace, indicating either multiple

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devices are being used or that a mobile device was being used, or both. Because the device was

reportedly operated during the same time period as reported by Twitter, and is likely to contain

information regarding the operation of these accounts or to contain evidence of the crimes and

activities under investigation.

         16.      I also know that individuals who are interested in the sexual exploitation of children

will protect and retain child pornography for long periods of time. 1 Typically, the individual will

keep the device(s) close-by, in part for immediate access for sexual gratification and to maintain

secure control over the contraband material. In this instance, as detailed in the search warrants

incorporated by reference, records from Twitter indicate repetitious and continuous access and

operation of multiple accounts used to advertise the user's interest in the sexual exploitation of

middle-to-high school aged (minor) boys. Moreover, communications in the "Survivinglife8"

account revealed the user's practice of saving images of minor boys engaged in the lascivious

exhibition of genitals or other sexually explicit conduct. The process of saving images was also

evinced by evidence found on an SD card in Spam's Samsung Galaxy S9 phone. For this reasons,



1
  See United States v. Shields, 458 F.3d 269, 279 (3d Cir. 2006) (noting nine month delay in applying for search
warrant would not have supported staleness challenge due to context of child pornography offender behavior along
with evidence of continuing offenses); United States v. Schesso, 730 F.3d 1040 (9th Cir. 2013) (finding delay of20
months did not render probable cause stale in context of investigation); see also United States v. Allen, 625 F.3d
830, 842-43 (5th Cir.2010) (holding that an 18-month delay between when defendant sent child pornography images
through a peer-to-peer networking site and issuance of a search warrant did not render the information stale); United
States v. 1vforales-Aldahondo, 524 F.3d 115, 117-19 (1 st Cir.2008) ( concluding that the passage of over three years
since the acquisition of information that defendant's brother, who shared defendant's residence, had purchased access
to various child pornography websites, did not render that information stale).




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it is probable that Sporn used the other devices, such as the Kindle tablet in Attachment A, for

similar purposes and that evidence of the crimes under investigation may be found thereon.

       17.     From my training and experience, I know that individuals who engage m

communications with other individuals relating to the sexual exploitation of children will

frequently retain information about these contacts, which can be used later to obtain access to other

groups or forums relating to child pornography, or for exchanging additional child pornography.

In this instance, the user of these accounts advertised and announced he was a user on another

service, Tumblr. As his communications about those activities revealed, his Tumblr account was

similarly used to engage in the sexual exploitation of middle-to-high school aged (minor) boys.

Evidence of these contacts will likely be retained on the black Samsung phone, which was

observed being used by Sporn during the period of activity reported by Twitter.

       18.     Based on the conduct reported by T_witter and revealed in the communications of

the operator of the accounts, and based on my observation of child pornographer characteristics, I

believe that the operator of the "mikeyfromtumbll" and "Survivinglife8" accounts evinces the

qualities associated with child pornographers, outlined above. The above facts indicate that the

operator of the accounts has created more than one social media account to obtain or request child

pornography. Because of the user's operation of multiple social media accounts to traffic in or

solicit production of child pornography, I believe the user evinces characteristics common to child

pornographers, including retaining child pornography for long periods. I expect the device(s) used

by operator of the accounts described above have previously (and will probably still contain, as

discussed below) additional child pornography, links to child pornography websites, or artifacts

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showing access to child pornography. I further expect the device(s) used by or in the possession

of the user will probably contain evidence of communications, or attempts to communicate, with

other individuals interested in the sexual exploitation of children, i.e., child pornographers.

           COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

        19.      As described above and in Attachment B, this application seeks permission to

search for evidence of the crimes under investigation that might be found on the device identified

above and described in Attachment A, in the form of data and information contained on the

devices.      Thus, the warrant applied for would authorizes examination of the device for

electronically stored information, either here in Wichita or through an assisting agency located

elsewhere in the United States, all under Rule 4l(e)(2)(B).

       20.       Based on my knowledge, training, and experience, I know that computer files or

remnants of such files can be recovered months or even years after they have been downloaded

onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a

storage medium can be stored for years at little or no cost. Even when files have been deleted,

they can be recovered months or years later using forensic tools. This is so because when a person

"deletes" a file on a computer, the data contained in the file does not actually disappear; rather,

that data remains on the storage medium until it is overwritten by new data. Therefore, deleted

files, or remnants of deleted files, may reside in free space or slack space-that is, in space on the

storage medium that is not currently being used by an active file-for long periods of time before

they are overwritten.



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       21.      As further described in Attachment B, this application seeks permission to search

the device which may have been used in the commission of the crimes under investigation and to

examine those devices to locate: a) computer files that might serve as direct evidence of the crimes

described on the warrant, and b) forensic electronic evidence that establishes how the devices were

used, the purpose of their use, who used them, and when.

       22.      Information stored within electronic storage media may provide crucial evidence

of the "who, what, why, when, where, and how" of the criminal conduct under investigation, thus

enabling the United States to establish and prove each element or alternatively, to exclude the

innocent from further suspicion. There is probable cause to believe that this forensic electronic

evidence (relating to the who, when, and how of the device's use) will be on any storage medium

because:

             a. Operating systems can record additional information, such as the attachment of
                peripherals, the attachment of USB flash storage devices or other external storage
                media, and the times the computer was in use. Put into context in this case, because
                the USB :flashdrives are capable of being used on the desktop computer at Sporn's
                work, the contents of the USB :flashdrives may complete the picture of how the
                workplace computer was used, by whom, and when for what purpose.

             b. Information stored within a computer or storage media (e.g., registry information,
                communications, images and movies, transactional information, records of session
                times and durations, internet history, and anti-virus, spyware, and malware
                detection programs) can indicate who has used or controlled the computer or
                storage media. This "user attribution" evidence is analogous to the search for
                "indicia of occupancy" while executing a search warrant at a residence.

             c. Additionally, some information stored within electronic storage media may provide
                crucial evidence relating to the physical location of other evidence and the suspect.
                For example, images stored on a device may both show a particular location and
                have geolocation information incorporated into its file data. Such file data typically
                also contains information indicating when the file or image was created. The
                existence of such image files, along with external device connection logs, may also
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                indicate the presence of additional electronic storage media (e.g., a digital camera
                or cellular phone with an incorporated camera). The geographic and timeline
                information described herein may either inculpate or exculpate the user.

             d. Information stored within a device may provide relevant insight into the computer
                user's state of mind as it relates to the offense under investigation. For example, a
                saved webpage explaining how to download material may indicate criminal
                planning. Similarly, an executable file for a "wiping" program to destroy evidence
                may reveal consciousness of guilt. Folder tiles or organizational structures may also
                reveal the user's awareness of the criminal nature of content.

       23.      A person with appropriate familiarity with how a computer/device works can, after

examining this forensic evidence in its proper context, draw conclusions about how the computer

or device was used, the purpose of such use, who used them, and when. The process of identifying

the exact files and other forms of forensic evidence on a storage medium that are necessary to draw

an accurate conclusion is a dynamic process. While it is possible to specify in advance the records

to be sought, computer evidence is not always data that can be merely reviewed by a review team

and passed along to investigators. Whether data stored on a computer or other storage device is

evidence may depend on other information stored on another device and the application of

knowledge about how that device behaves.          Therefore, contextual information necessary to

understand other evidence also falls within the scope of the warrant.

       24.      Further, in finding evidence of how a computer or device was used, the purpose of

its use, who used it, and when, sometimes it is necessary to establish that a particular thing is not

present on a storage medium. For example, the presence or absence of counter-forensic programs

or anti-virus programs (and associated data) may be relevant to establishing the user's intent.

       25.      As noted above, not all evidence takes the form of documents and files that can be

easily viewed. Analyzing evidence of how a computer has been used, what it has been used for,
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and who has used it requires considerable time. As explained above, because the warrant calls for

forensic electronic evidence, it is exceedingly likely that it will be necessary to thoroughly examine

storage media to obtain evidence, and may require examination by assisting authorities at an offsite

laboratory. Reviewing devices information for things described in the warrant can take weeks or

months, depending on the volume of data stored.

       26.     Computers can be configured in several different ways, featuring a variety of

different operating systems, application software, and configurations. This is true even for

smartphone devices, which may require different forensic tools to access the content contained in

the smartphone depending on the age or model of device. Therefore, it is possible that searching

these computer devices may require tools or knowledge that might not be present at the search site

(the Kansas ICAC), and may require review and examination in an off-site controlled environment

with the proper tools and knowledge.

       27.     Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

applying for would permit seizing, imaging, or otherwise copying storage media that reasonably

appear to contain some or all of the evidence described in the warrant, and would authorize a later

review of the media or information consistent with the warrant. The later review may require

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts of a hard drive to human inspection in order to determine whether it is evidence

described by the warrant.




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                                           CONCLUSION

       28.     Based on the foregoing facts, there is probable cause to believe: Randy Sporn has

operated one or more Twitter accounts involved in the trafficking or production of child

pornography, in violation of 18 U.S.C. §§ 2251, 2252(a)(2), and 2252A(a)(2); that Randy Sporn

has accessed these accounts using multiple digital devices; that Randy Sporn has done so over an

extended period of time; that a digital device attributed to_Randy Sporn (described in Attachment

A) is likely to have been used to access to the accounts discussed herein; that Randy Sporn has

used digital devices to possess and store child pornography, in violation of 18 U.S.C.

§2252A(a)(5)(B); and that additional digital devices (described in Attachment A) attributed to

Randy Sporn are likely to contain evidence of the possession of child pornography, in violation of

18 U.S.C. §2252A(a)(S)(B). Based on these facts, I submit the digital device, attributed to Randy

Sporn and provided to law enforcement by his roommate, possession will likely contain evidence

of his, and others, child pornography activities.

       29.

                                                       Respectfully submitted,



                                                       J0:Feira
                                                       Special Agent
                         l__.....\.   _1               Homeland Security Investigations
                       -Te'q.JW>n: c-~ t l'-,,
       Subscribed and sworn to before mef'n         5 - l 4 ·-                   2021.



                     . AL
                  STATES MAGISTRATE JUDGE
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                                     ATTACHMENT A

                              Property to be searched/examined

Black Amazon Kindle, Model No. 3HT7G, FOC ID: ZHS-1013 with a black plastic protective
case


All currently located at the Kansas ICAC, located 1211 S. Emporia, Wichita, Kansas.
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                                        ATTACHMENT B
                                        Property to be seized

        1.      Any and all child pornography (as defined m 18 U.S.C. § 2256(8)), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), in

any format or medium, including computer files, prints, negatives, drawings, and paintings.

        2.      Any and all child erotica, in any format or medium, including documents, writings,

and images or videos of children that do not qualify as child pornography but evince a sexual

interest in children.

        3.      Any and all documents, records, or correspondence, in any format or medium,

pertaining to operation of, or communication with, the Twitter accounts described in the attached

affidavit, specifically including "mikeyfromtumblrl" and "Survivinglife8" and the User 9264

account (referenced in the affidavit of incorporated search warrants 21-6023-GEB and 21-6024-

GEB).

        4.      Any and all software or programs or applications that may be or are used to:

             a. distribute, receive, possess or access child pornography or visual depictions of

                minors engaged in sexually explicit conduct;

             b. seek, obtain, store, or record information pertaining to the sexual exploitation of

                children or otherwise relate to an interest in child pornography, visual depictions of

                minors engaged in sexually explicit conduct, child erotica, or the sexual

                exploitation of children;




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             c. communicate with any other person regarding child pornography, visual depictions

                of minors engaged in sexually explicit conduct, child erotica, or the sexual

                exploitation of children; and

             d. destroy or "wipe" evidence of child pornography activity.

       5.       Any and all data or information on the device(s) which may reveal indicia of

ownership, access, or use of the device, or the account and websites described in the attached

affidavit (and referenced in the affidavit of incorporated search warrants 21-6023-GEB and 21-

6024-GEB ).

       6.       Any and all notes, documents, records, correspondence, in any format and medium

(including, but not limited to, letters, diaries, manifestos, manuals, email messages, chat logs,

Tweets, and memes) pertaining to child pornography, visual depictions of minors engaged in

sexually explicit conduct, child erotica, or the sexual exploitation of children, and to include any

and all data or records that may reveal indicia of creation, use, or ownership of the notes,

documents, records, or correspondence.

       7.       Any and all records that concern any accounts with an Internet Service Provider.

       8.       Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern online storage or other remote computer

storage, including, but not limited to, software used to access such online storage or remote

computer storage, user logs or archived data that show connection to such online storage or remote

computer storage, and user logins and passwords for such online storage or remote computer

storage.
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       9.      Any and all records, documents, invoices and materials, in any format or medium

that concern encryption, deletion, or destruction of evidence.

       10.     Any and all visual depictions of minors that may assist in the identification of

minors depicted in images of child erotica or child pornography.




                                                 4
